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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: REALPAGE, INC., RENTAL SOFTWARE
ANTITRUST LITIGATION (NO. II)                                                         MDL No. 3071


                                       TRANSFER ORDER


        Before the Panel:* Defendant RealPage, Inc., and 34 defendant property managers,
owners, operators, and/or lessors (the “lessor defendants”) move under 28 U.S.C. § 1407 to
centralize this litigation in the Northern District of Texas. 1 Defendants alternatively support
centralization in the District of Colorado. This litigation consists of twenty-one actions pending
in six districts, as listed on Schedule A. 2 In addition, the parties have informed the Panel of twelve
related actions pending in seven districts. 3

        All responding parties support centralization, but differ as to the proposed transferee forum.
Two additional lessor defendants join the motion and support centralization in the Northern
District of Texas. Plaintiffs in eleven actions on the motion and two potential tag-along actions,
all pending in the Western District of Washington, support centralization in that district. Plaintiff
in one of these actions (Navarro) alternatively requests that the Panel exclude Navarro from the
MDL if we centralize this litigation in a district other than the Western District of Washington.
Plaintiffs in nine actions on the motion and four potential tag-alongs actions (all but one of which
are pending outside the Western District of Washington) support centralization in the District of
Colorado or, alternatively, in the Middle District of Tennessee. Plaintiffs in another three potential
tag-along actions support centralization in the Middle District of Tennessee in the first instance or,
alternatively, in the District of Colorado.



* One or more Panel members who could be members of the putative classes in this litigation have
renounced their participation in these classes and have participated in this decision.
1
 Counsel for movants, in his Notice of Presentation of Oral Argument, states that he represents
56 defendants for purposes of this motion. Only 35 of these defendants, however, are listed in the
motion.
2
  A twenty-second action on the motion, filed in the District of New Mexico, was voluntarily
dismissed on January 12, 2023.
3
 These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
and 7.2.
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        On the basis of the papers filed and the hearing session held, we find that the actions listed
on Schedule A involve common questions of fact, and that centralization in the Middle District of
Tennessee will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation. These actions share factual questions arising from alleged
collusion by RealPage and numerous lessors of multifamily residential real estate across the
country to fix, raise, maintain, and stabilize lease prices. Plaintiffs allege that the lessor defendants
all employed revenue management software provided by RealPage called AI Revenue
Management (formerly known as YieldStar), which gathered real-time pricing and vacancy data
from the lessors and made unit-specific pricing and vacancy recommendations—which the lessors
allegedly agreed to adhere to, on the understanding that competing lessors would do the same—
with the intent and effect of raising lease prices above competitive levels. Plaintiffs allege that
this conduct violated federal antitrust law, as well as various state antitrust and consumer
protection statutes. Many of the plaintiffs seek to represent nationwide classes of lessees affected
by the alleged price fixing scheme, while others seek to represent overlapping city-specific classes.
Centralization will eliminate duplicative discovery; prevent inconsistent pretrial rulings,
particularly as to class certification; and conserve the resources of the parties, their counsel, and
the judiciary.

        The Middle District of Tennessee is an appropriate transferee district for this litigation.
Several plaintiffs propose centralization in this district, either in the first instance or in the
alternative. The Middle District of Tennessee presents a geographically central, convenient, and
accessible venue for this nationwide litigation. Further, centralization in this district permits the
Panel to assign this litigation to a less-utilized transferee forum with an experienced judge who
has not yet overseen a multidistrict litigation. Accordingly, we assign this action to the Honorable
Waverly D. Crenshaw, Jr., who we are confident will steer this litigation on a prudent and
expeditious course.

        We deny the request to exclude Navarro from the MDL. Plaintiff argues that Navarro
involves a putative class of lessees of student housing as opposed to the putative classes in the
other actions, which involve the multifamily housing market. “Unique legal theories and factual
allegations in a particular action, though, are not significant where all the actions arise from a
common factual core.” In re Epipen (Epinephrine Injection, USP) Mktg., Sales Practices &
Antitrust Litig., 268 F. Supp. 3d 1356, 1359 (J.P.M.L. 2017). Navarro will share substantial factual
questions with the other actions relating to defendants’ alleged price-fixing conspiracy and their
use of RealPage’s software to facilitate coordination of rental prices. Moreover, Navarro already
is being coordinated with the other related actions in the Western District of Washington, and
plaintiff himself has moved to consolidate those cases. Navarro will proceed most efficiently as
part of this MDL.
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       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Middle District of Tennessee are transferred to the Middle District of Tennessee and, with the
consent of that court, assigned to the Honorable Waverly D. Crenshaw, Jr., for coordinated or
consolidated pretrial proceedings.


                                         PANEL ON MULTIDISTRICT LITIGATION




                                                         Karen K. Caldwell
                                                             Chair

                                     Nathaniel M. Gorton               Matthew F. Kennelly
                                     David C. Norton                   Roger T. Benitez
                                     Dale A. Kimball                   Madeline Cox Arleo
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IN RE: REALPAGE, INC., RENTAL SOFTWARE
ANTITRUST LITIGATION (NO. II)                                        MDL No. 3071


                                   SCHEDULE A

                 District of Colorado

     WEAVER v. REALPAGE, INC., ET AL., C.A. No. 1:22−03224
     MACKIE v. REALPAGE, INC., ET AL., C.A. No. 1:23−00011

                 District of District of Columbia

     KRAMER v. REALPAGE, INC., ET AL., C.A. No. 1:22−03835

                 District of Massachusetts

     WHITE v. REALPAGE, INC., ET AL., C.A. No. 1:22−12134
     PRECHT v. REALPAGE, INC., ET AL., C.A. No. 1:22−12230

                 Middle District of Tennessee

     WATTERS v. REALPAGE, INC., ET AL., C.A. No. 3:22−01082

                 Western District of Texas

     VINCIN, ET AL. v. REALPAGE, INC., ET AL., C.A. No. 1:22−01329
     CARTER v. REALPAGE, INC., ET AL., C.A. No. 1:22−01332

                 Western District of Washington

     NAVARRO v. REALPAGE, INC., ET AL., C.A. No. 2:22−01552
     ALVAREZ, ET AL. v. REALPAGE, INC., ET AL., C.A. No. 2:22−01617
     CHERRY, ET AL. v. REALPAGE, INC., ET AL., C.A. No. 2:22−01618
     MORGAN, ET AL. v. REALPAGE, INC., ET AL., C.A. No. 2:22−01712
     ARMAS, ET AL. v. REALPAGE, INC., ET AL., C.A. No. 2:22−01726
     JOHNSON v. REALPAGE, INC., ET AL., C.A. No. 2:22−01734
     SILVERMAN, ET AL. v. REALPAGE, INC., ET AL., C.A. No. 2:22−01740
     BOHN, ET AL. v. REALPAGE, INC., ET AL., C.A. No. 2:22−01743
     PHAM, ET AL. v. REALPAGE, INC., ET AL., C.A. No. 2:22−01744
     GODFREY v. REALPAGE, INC., ET AL., C.A. No. 2:22−01759
     ZHOVMIRUK v. REALPAGE, INC., ET AL., C.A. No. 2:22−01779
     BOELENS v. REALPAGE, INC., ET AL., C.A. No. 2:22−01802
     MOORE v. THE IRVINE COMPANY, LLC, ET AL., C.A. No. 2:22−01826
